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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON Us. Dea TS er
EASTERN DISTRICT OF WASHINGTON
JUL 24 208
WAMES A. LARSEN, CLERK

Case Number: CR-05-184-WFN-1

UNITED STATES OF AMERICA,

Plaintiff(s),
vs.
WARRANT FOR ARREST .
DAVID SIDWELL,

Defendant (s).

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To: The United States Marshal and any Authorized U.S. Officer .. oo.
YOU ARE HEREBY COMMANDED to arrestDAVID SIDWELL and bring him:

or her forthwith to the nearest Magistrate Judge to answer a(n)
INDICTMENT charging him or her with violation of

21 U.S.C, 952, 960, 963 CONSPIRACY TO IMPORT MARIJUANA

21 U.S.C. 841(a) (1), 846 CONSPIRACY TO DISTRIBUTE MARIJUANA

31 U.S.C. 5332, 5316, 18 U.S.C, 2 ATTEMPTED BULK CASH SMUGGLING
18 U.S.C. 2, 1956 (a) (2), (h),31 U.S.C. 5316 CONSPIRACY TO COMMIT

MONEY LAUNDERING

CLERK, U.S. DISTRICT COURT

October 18, 2005 at
Spokane, Washington

BAIL FIXED AT AUSA SEEKS DETENTION BY HONORABLE CYNTHIA IMBROGNO

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RETURN ON WARRANT

This warrant was received and executed with the arrest of the
above-named defendant at

Date received : / / Date of arrest: / /

Arresting Officer:

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Name , Arrestecton Hf SLE
Tf ho wie
Title : ithi hela Py
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Signature: By:
by
AO-442 - WARRANT FOR ARREST CH nr / Preypen

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